
In re Matthews, Clarence; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “A”, No. 280-029; to the Court of Appeal, Fourth Circuit, No. 92KW-2611.
Writ granted. The ruling of the court below is vacated because relator timely filed a meritorious application. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to handle the appeal. See Lofton v. Whitley, 905 F.2d 885 (5th Cir.1993); State ex rel. Banks v. State, 634 So.2d 366 (La.1994); State ex rel. Tucker v. State, 624 So.2d 1211 (La.1993). If appointed counsel, after a review of the record, finds no basis for assigning error on appeal, he or she may follow the procedures set out in State v. Benjamin, 573 So.2d 528, 530 (La.App. 4th Cir.1991).
DENNIS, J., not on panel.
